                             Case 22-14583-SMG                       Doc 160           Filed 04/30/23              Page 1 of 16
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 22-14583-SMG
Marisa Chanile Smith                                                                                                   Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Apr 28, 2023                                               Form ID: pdf004                                                           Total Noticed: 16
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 30, 2023:
Recip ID                 Recipient Name and Address
cr                     + Nautica Community Association, Inc., Bakalar & Associates, P.A., 12472 W. Atlantic Blvd., Coral Springs, FL 33071-4086
cr                     + Shoma Homes at Nautica Single Family Neighborhood, Bakalar & Associates, P.A., 350 Camino Gardens Blvd., Suite 104, Boca Raton,
                         FL 33432-5825
96700340               + Avanti Credit Card, 222 N LaSalle St Suite 1600, Chicago, IL 60601-1112
96700341               + CRB/Upgrade, Inc LBX #452210, POB 52210, Phoenix, AZ 85072-2210
96700342               + D & S Law Group, 8751 W Broward Blvd #301, Plantation, FL 33324-2632
96636818               # Fed Loan Servicing, P.O. Box 69184, Harrisburg PA 17106-9184
96636820               + Shoma Homes at Nautica Single Family, 3691 SW 164th Avenue, Miramar FL 33027-4579
96636822               + Shoma Single Family at Nautica, 14275 SW 142 Avenue, Miami FL 33186-6715
96611886                 U.S. Department Of Education, FedLoan Servicing, POB 69184, Harrisburg, PA 17106-9184

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/PDF: chanilesmith@mail.com
                                                                                        Apr 28 2023 23:08:00      Marisa Chanile Smith, 3809 SW 164th Terrace,
                                                                                                                  Miramar, FL 33027-4641
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Apr 28 2023 23:17:00      U.S. Bank Trust National Association, not in its i,
                                                                                                                  Robertson, Anschutz, Schneid, Crane & Pa, 6409
                                                                                                                  Congress Avenue, suite 100, Boca Raton, FL
                                                                                                                  33487-2853
96618434                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Apr 28 2023 23:15:05      LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                                  PO Box 10587, Greenville, SC 29603-0587
96781955                  Email/Text: EBN@Mohela.com
                                                                                        Apr 28 2023 23:17:00      US Department of Education/MOHELA, 633
                                                                                                                  Spirit Drive, Chesterfield MO 63005
96636819                  Email/Text: bkteam@selenefinance.com
                                                                                        Apr 28 2023 23:17:00      Selene Finance, P.O. Box 71243, Philadelphia PA
                                                                                                                  19176-6243
96611885                  Email/Text: bkteam@selenefinance.com
                                                                                        Apr 28 2023 23:17:00      Selene Finance LP, POB 71243, Philadelphia, PA
                                                                                                                  19176-6243
96771934               + Email/Text: bkteam@selenefinance.com
                                                                                        Apr 28 2023 23:17:00      U.S. BANK TRUST NATIONAL
                                                                                                                  ASSOCIATION, Selene Finance LP, 3501
                                                                                                                  Olympus Blvd, Suite 500, Dallas, TX 75019-6295

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE
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District/off: 113C-0                                                User: admin                                                                Page 2 of 2
Date Rcvd: Apr 28, 2023                                             Form ID: pdf004                                                          Total Noticed: 16

                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 30, 2023                                         Signature:            /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 28, 2023 at the address(es) listed below:
Name                             Email Address
Keith S Labell
                                 on behalf of Creditor U.S. Bank Trust National Association not in its individual capacity but solely as owner trustee for RCF 2
                                 Acquisition Trust c/o U.S. Bank Trust National Association klabell@raslg.com, klabell@raslg.com

Keith S Labell
                                 on behalf of Creditor Wilmington Savings Fund Society FSB klabell@raslg.com, klabell@raslg.com

Michael S Hoffman
                                 on behalf of Creditor Shoma Homes at Nautica Single Family Neighborhood Ass'n Inc Mshoffman@hlalaw.com
                                 hlaecf@gmail.com;cthornton@hlalaw.com;mshoffman@ecf.courtdrive.com;cthornton@ecf.courtdrive.com;mkennady@hlalaw.co
                                 m

Office of the US Trustee
                                 USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                                 ecf@ch13weiner.com ecf2@ch13weiner.com

Susan P Bakalar
                                 on behalf of Creditor Nautica Community Association Inc. sbakalar@assoc-law.com,
                                 smurguia@assoc-law.com;lwilder@assoc-law.com;ydelgado@assoc-law.com

Susan P Bakalar
                                 on behalf of Creditor Shoma Homes at Nautica Single Family Neighborhood Ass'n Inc sbakalar@assoc-law.com
                                 smurguia@assoc-law.com;lwilder@assoc-law.com;ydelgado@assoc-law.com

Thomas G Neusom
                                 on behalf of Debtor Marisa Chanile Smith tgnoffice35@gmail.com


TOTAL: 8
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         ORDERED in the Southern District of Florida on April 28, 2023.



                                           Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                               UNITED STATES BANKTUPCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

         In re:

         MARISA CHANILE SMITH,                        Case No. 22-14583-SMG

               Debtor.                                Chapter 13
         ____________________________________/

                ORDER SANCTIONING COUNSEL UNDER FED. R. BANKR. P. 9011

                  On March 13, 2023, the Court entered an Order Denying Emergency Motion to

         Reinstate Bankruptcy Stay and Setting Show Cause Hearing 1 (the “Show Cause

         Order”), which directed Debtor Marisa Chanile Smith and her counsel Thomas

         Neusom, Esq. to appear at a hearing on April 5, 2023 (the “Show Cause Hearing”), to

         show cause why sanctions under Federal Rule of Bankruptcy Procedure 9011(c)(1)(B)

         should not be imposed for filing an Emergency Motion to Reinstate the Bankruptcy




         1   ECF No. 150.

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Stay 2 (the “Motion to Reinstate Stay”) with respect to this chapter 13 bankruptcy case

that the Court dismissed on December 20, 2022, 3 and as to which the Court had

previously denied the Debtor’s motion to reconsider on January 26, 2023. 4 The Court

has considered the arguments of counsel, the responses 5 filed by Mr. Neusom on

behalf of himself and the Debtor, the Notice of Filing of time entries 6 filed by creditor

Shoma Homes at Nautica Single Family Neighborhood Association, Inc. (“Shoma

Homes”), and the record in this case. For the reasons discussed below, the Court will

sanction Mr. Neusom for filing and prosecuting the Motion to Reinstate Stay in

violation of Federal Rule of Bankruptcy Procedure 9011(b)(2).

                                     Background

       The Debtor commenced this bankruptcy case by filing a pro se chapter 13

petition on June 14, 2022. 7 On August 2, 2022, the Court dismissed the case because

the Debtor did not make her required pre-confirmation plan payments, and did not

attend her required Section 341 meeting of creditors. 8 Before dismissing the case,

however, on July 29, 2022, the Court granted relief from the automatic stay –

retroactive to the petition date – to creditor Shoma Homes 9 (the “Shoma Homes Stay

Relief Order”), and found that the Debtor filed this case in bad faith because, among




2 ECF No. 143.
3 ECF No. 115.
4 ECF No. 130.
5 ECF Nos. 155, 157
6 ECF No. 154.
7 ECF No. 1.
8 ECF No. 51.
9 ECF No. 48.



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other things, this was the Debtor’s third bankruptcy case since 2018, 10 it was filed

without many of the required documents, the Debtor failed to appear at her meeting

of creditors, and she had not made any preconfirmation payments under her Chapter

13 plan. 11 On August 15, 2022, the Debtor moved to reconsider the Shoma Homes

Stay Relief Order, 12 and to reinstate her case. 13 On September 17, 2022, the Court

granted the Debtor’s motion to reinstate her case, 14 but on October 3, 2022, the Court

denied her motion to reconsider the Shoma Homes Stay Relief Order. 15 On October

17, 2022, the Debtor filed a notice of appeal of the order denying her motion to

reconsider. 16

       On December 7, 2022 – more than two months after the Court denied her

motion to reconsider, and over four months after the Court had granted Shoma

Homes stay relief – the Debtor filed an “emergency” motion for stay pending appeal

of the Shoma Homes Stay Relief Order. 17 On December 20, 2022, the Court entered

a comprehensive Order (I) Denying Confirmation of Chapter 13 Plan, (II) Dismissing

Case, (III) Denying Motion for Stay Pending Appeal, (IV) Sustaining Objection to

Exemptions, and (V) Denying All Other Pending Motions as Moot 18 (the “Second




10 See Case No. 18-22792-JKO (filed October 15, 2018); Case No. 19-23650-PDR (filed October 11,

2019). The Debtor has since filed a fourth bankruptcy case, Case No. 23-12924-PDR, on April 14,
2023.
11 Id.
12 ECF No. 55.
13 ECF No. 54.
14 ECF No. 63.
15 ECF No. 72.
16 ECF No. 75. That appeal was assigned U.S. District Court Case Number: 0:22-cv-61931-RKA.
17 ECF No. 108.
18 ECF No. 115.



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Dismissal Order”) in which it, among other things, denied the Debtor’s “emergency”

motion for stay pending appeal of the Shoma Homes Stay Relief Order.

       On January 3, 2023, the Debtor filed a motion to reconsider the Second

Dismissal Order. 19 After a hearing on January 19, 2023, 20 the Court entered an Order

Denying Pro        Se    Debtor’s    Motion     to   Reconsider 21     (the    “Order     Denying

Reconsideration”) on January 26, 2023. The Debtor then filed a Notice of Appeal of

this Order on February 10, 2023. 22 The Debtor did not, however, file any motion for

stay pending appeal with this Court under Federal Rule of Bankruptcy Procedure

8007(a).

                              The Motion to Reinstate Stay

       On February 28, 2023 – after the Court had granted Shoma Homes stay

relief, 23 denied the Debtor’s motion to reconsider that order, 24 denied the Debtor’s

motion for stay pending the appeal of that order, 25 dismissed her bankruptcy case, 26

and denied her motion for reconsideration of the dismissal order 27 – Mr. Neusom

entered an appearance in this case as counsel for the Debtor 28 and filed the Motion

to Reinstate Stay. 29 Mr. Neusom then self-calendared the Motion to Reinstate Stay




19 ECF No. 117.
20 ECF No. 118.
21 ECF No. 130.
22 ECF No. 132. This appeal was assigned U.S. District Court Case Number: 0:23-cv-60273-RS.
23 ECF No. 48.
24 ECF No. 72.
25 ECF No. 115.
26 Id.
27 ECF No. 130.
28 ECF No. 142.
29 Notwithstanding its title, Mr. Neusom docketed the motion as a “Motion to Stay” the Order Denying

Reconsideration.

                                                 4
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for a hearing on April 13, 2023, 30 despite it being filed as an “emergency” motion. But

because it was denominated as an “emergency” motion, the Clerk of Court

rescheduled the hearing for March 8, 2023, 31 so that the Court could consider the

relief requested on an emergency basis.

       As the Court pointed out to Mr. Neusom at the March 8, 2023 hearing, the

Motion to Reinstate Stay was rambling and incoherent, and not something the Court

would expect from an attorney licensed to practice law in the State of Florida. The

motion began by asking the Court to “reinstate the Bankruptcy Stay” 32 – presumably

asking the Court to reinstate the automatic stay created by Bankruptcy Code section

362(a) – without citing to any authority for this relief. 33 The motion then quotes

Federal Rule of Bankruptcy Procedure 8025. But Rule 8025 has no applicability here;

it governs stays of a District Court or Bankruptcy Appellate Panel judgment, not

judgments or orders of the Bankruptcy Court. Amid quoting Rule 8025, the motion

then inserts four lines of argument that can only be described as a non sequitur,

before resuming its full quote of the remainder of Rule 8025. 34

       Pages three and four of the motion then discuss – without any context – the

equity of redemption under Florida law. The motion goes on to cite Federal Rules of

Bankruptcy Procedure 8024 and 8026, neither of which have any applicability in




30 ECF No. 144.
31 ECF No. 145.
32 ECF No. 143, at 1.
33 Presumably Mr. Neusom did not cite any authority for this relief because no such authority exists.

Under Bankruptcy Code section 362(c)(2)(B), the automatic stay terminates when a bankruptcy case
is dismissed.
34 ECF No. 143, at 2.



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proceedings before the Bankruptcy Court. 35 After citing those inapplicable rules, the

motion then addresses “reinstating an appeal.” 36 But at the time Mr. Neusom filed

the Motion to Reinstate Stay, both of the Debtor’s appeals in the District Court were

still pending, so there was nothing to reinstate (and of course to the extent this might

have been an appropriate request for relief, such relief should have been sought in

the District Court where these appeals were pending).

       The motion then argues that the Bankruptcy Court was wrong to have found

that this case was filed in bad faith. This may be a legitimate argument for an appeal.

But it is not an appropriate argument to make to this Court when this Court has

already dismissed this case as a bad faith filing, granted Shoma Homes stay relief,

and denied reconsideration of both rulings. Next the motion raises substantive

arguments about state court foreclosure proceedings, including a statute of

limitations argument. The motion then addresses for the first time a state court

appeal that is pending, and argues that “the Stay should be reinstated, for an abuse

of discretion.” 37 The rest of pages five and six of the motion again contain rambling,

incoherent non sequiturs, replete with numerous typographical errors, which then

segue into more argument about state court foreclosure proceedings. Page seven then

appears to list several state court docket entries, interspersed with arguments

challenging state court foreclosure proceedings – including some arguments written




35 Rule 8024 discusses the duties of the Clerk of the District Court or the BAP in disposing of a
bankruptcy appeal, and Rule 8026 addresses local rules relating to bankruptcy appeals.
36 ECF No. 143, at 4.
37 Id. at 5.



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in the first person (suggesting, perhaps, that the Debtor and not Mr. Neusom actually

wrote the motion). 38

        On page eight, the motion then makes arguments about Florida rules of civil

procedure (which do not apply in federal court). On pages nine through fifteen, the

motion (again, replete with typographical errors and formatting issues that render it

nearly unreadable) gets back to at least arguing about the propriety of this Court’s

ruling denying the Debtor’s motion for reconsideration of the Shoma Homes Stay

Relief Order. But as discussed, with this Court having already denied her motions for

reconsideration, these arguments lie – if at all – with the District Court, where her

appeals are pending.

        The motion then requests that “This Court should reverse and rem and [sic]

the Bankruptcy Court’s July 29, 2022 and October 3, 2022 orders,” 39 and then states:

        Marisa C. Smith hereby respectfully requests that this Court enter an
        order reversing and rem aiding [sic] the Bankruptcy court’s July 29,2022
        [sic] order granting Appellee's Motion for Relief from Stay
        (retroactively),andits [sic] October3,2022 [sic] order denying Appellant’s
        Motion for Reconsideration, and for any further relief the Court deems
        just and proper

After that prayer for relief comes another non sequitur: argument about what must

be in an emergency motion to stay a writ of possession under state law. The Motion

to Reinstate Stay concludes by asking for the following relief:

        Debtor needs a stay due to a writ of possession in state court and for
        other reasons such as herb [sic] objections not being heard. The




38Regardless, Mr. Neusom signed, filed, and argued the Motion to Reinstate Stay.
39While this Court can reconsider its own orders (it has declined to do so here), it cannot “reverse and
rem[and] itself.”

                                                   7
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       irregularities and illegalitys [sic] in the state court matter are many and
       a stay from the bankruptcy court is needed. 40

The motion then closes with a citation to and certification under Federal Rule of Civil

Procedure 11, 41 electronically signed by Mr. Neusom, which states:

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to
       the best of my knowledge, information, and belief that this complaint:
       (1) is not being presented for an improper purpose, such as to harass,
       cause unnecessary delay, or needlessly increase the cost of litigation;
       (2) is supported by existing law or by a nonfrivolous argument for
       extending, modifying, or reversing existing law; (3) the factual
       contentions have evidentiary support or, if specifically so identified, will
       likely have evidentiary support after a reasonable opportunity for
       further investigation or discovery; and (4) the complaint otherwise
       complies with the requirements of Rule 11.

                                The March 8, 2023 Hearing

       At the March 8, 2023 hearing on the Motion to Reinstate Stay, the Court

repeatedly asked Mr. Neusom how it even had subject matter jurisdiction to entertain

the requested relief, since it had already granted stay relief to Shoma Homes (and

denied reconsideration of that order and denied a stay pending appeal), and then

dismissed the case (and denied reconsideration of that order), both of which orders

were on appeal to the District Court. The Court also repeatedly inquired of

Mr. Neusom as to how and why he filed the Motion to Reinstate Stay, with its

numerous legal, grammatical, formatting, and other deficiencies. He could not

provide a cogent answer to either question, only responding, in essence, that there

was an upcoming hearing in state court at which the Debtor might lose her home,




40ECF No. 143, at 16.
41In bankruptcy cases, however, Federal Rule of Civil Procedure 11 does not apply. Instead, its close
analogue, Federal Rule of Bankruptcy Procedure 9011, applies.

                                                  8
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and this was therefore an “emergency” request to ask the Bankruptcy Court to

“reinstate” her bankruptcy case and the automatic stay.

        After hearing from Mr. Neusom, the Court then heard argument from counsel

for Shoma Homes, Michael Hoffman, Esq. Mr. Hoffman advised the Court that when

the Motion to Reinstate Stay had originally been set for hearing on April 13, Shoma

Homes intended to serve a “safe harbor” 21-day letter on Mr. Neusom under Federal

Rule of Bankruptcy Procedure 9011(c)(1)(A). But because the Court rescheduled the

hearing to accommodate the Debtor’s request for emergency consideration, Shoma

Homes could not timely comply with the 21-day rule. Accordingly, Mr. Hoffman

suggested that the Court set a further hearing to consider imposition of sanctions on

the Court’s own initiative under Federal Rule of Bankruptcy Procedure 9011(c)(1)(B).

        The Court then announced on the record that the Motion to Reinstate Stay

would be denied on the merits and for lack of subject matter jurisdiction, based on

two final orders (one granting stay relief to Shoma Homes and the other dismissing

the Debtor’s case), both of which are on appeal to the District Court. 42 The Court then

set a further hearing for April 5, 2023, at which Mr. Neusom and the Debtor were to

show cause why they should not be sanctioned under Rule 9011 for filing the Motion

to Reinstate Stay. 43 The Court further required that Shoma Homes file a statement

of its attorneys’ fees and costs incurred in connection with the Motion to Reinstate

Stay on or before March 25, 2023, and required that the Debtor and Mr. Neusom file


42 The filing of a notice of appeal confers jurisdiction on the appellate court and divests the trial court
“of its control over those aspects of the case involved in the appeal.” In re Mosley, 494 F.3d 1320, 1328
(11th Cir. 2007) (quoting Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)).
43 ECF No. 150.



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a written response explaining why sanctions should not be imposed under Rule

9011(c)(1)(B), and detailing any objections to Shoma Homes’ requests for fees and

costs, by March 31, 2023. 44

 The Debtor and Mr. Neusom’s Response, and Shoma Homes’ Time Entries

       Shoma Homes filed its Notice of Filing of its attorneys’ time entries 45 on

Monday, March 27, 2023. Mr. Neusom then filed what was effectively a response 46 to

the Show Cause Order – but which was titled as a Motion for Recusal 47 – on March

31, 2023, and then filed a supplement 48 to his response on April 4, 2023.

                                 The Show Cause Hearing

       The Court conducted the Show Cause Hearing on April 5, 2023. Mr. Neusom

appeared at the hearing, along with attorney Michael Hoffman for Shoma Homes,

attorney Joanna Tempone for the chapter 13 trustee, and attorney Martin Ochs from

the Office of the United States Trustee. The Court heard argument from Mr. Neusom

as to why he should not be sanctioned, including that Mr. Hoffman, on behalf of

Shoma Homes, belatedly filed his time entries. Mr. Hoffman asserted that he timely

filed the time entries because the original deadline fell on a weekend, and he filed the

time entries on the next business day. Finally, Mr. Neusom stated that he was

withdrawing his request for recusal. At the conclusion of the hearing, the Court took

the matter under advisement.


44 Id.
45 ECF No. 154.
46 ECF No. 155.
47 The Clerk issued a Notice to Filer of Apparent Filing Deficiency with respect to this “response,”

directing Mr. Neusom to “refile the pleading using the correct event.” Mr. Neusom never cured this
deficiency and did not properly refile the motion as a motion to recuse.
48 ECF No. 157.



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                         Shoma Homes’ Time Entries Were Tardy

          To begin, the Court agrees with Mr. Neusom that Mr. Hoffman’s time entries

were filed late. Federal Rule of Bankruptcy Procedure 9006(a)(1) provides that “in

computing any time period specified in . . . [a] court order, [w]hen the period is stated

in days or a longer unit of time: . . . (C) include the last day of the period, but if the

last day is a Saturday, Sunday, or legal holiday, the period continues to run until the

end of the next day that is not a Saturday, Sunday, or legal holiday.” 49 Here, the

deadline was not “stated in days or a longer unit of time.” The deadline was a date

certain – March 25, 2023. Because it was a date certain, Rule 9006(a)(1) does not

apply. Thus, Mr. Hoffman was required to file his time entries on or before that date,

which he failed to do. Accordingly, the Court will not consider his untimely time

entries as evidence of the attorneys’ fees incurred by Shoma Homes in responding to

the Motion to Reinstate Stay. And because there is no evidence before the Court of

the attorneys’ fees incurred by Shoma Homes, the Court will not award any attorneys’

fees to Shoma Homes.

                             Sanctions Under Rule 9011(c)(1)(B)

          Although the Court does not have sufficient evidence to award attorneys’ fees

to Shoma Homes, based on the record in this case – including Mr. Neusom’s responses

to the Order to Show Cause – the Court concludes that sanctions are nevertheless

required here. Simply put, for the reasons discussed above, the legal contentions in

the Motion to Reinstate Stay were not warranted by existing law or by a nonfrivolous



49   Fed. R. Bankr. P. 9006(a)(1) (emphasis added).

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argument for the extension, modification, or reversal of existing law or the

establishment of new law, in violation of Federal Rule of Bankruptcy Procedure

9011(b)(1)(2). Indeed, the Motion to Reinstate Stay demonstrated a fundamental

misunderstanding of applicable bankruptcy law, rules, and procedure, 50 and was

drafted in a manner unbefitting a member of the Florida Bar. While Courts must

afford a liberal construction to pleadings and motions filed by pro se litigants, 51

Courts are not required to do so for pleadings and motions filed by lawyers. 52

        While given a chance to explain himself and demonstrate why he should not

be sanctioned, Mr. Neusom responded by filing a motion for recusal. At the Show

Cause Hearing, however, Mr. Neusom stated that he did not wish to proceed with his

motion for recusal (which the Clerk’s office had flagged as a deficient filing, and which

was never timely rectified, so it would not have been acted upon anyway). 53 Indeed,

it was only in his tardy Supplement to the Opposition 54 (the “Supplement”) that


50 To be qualified to practice in this Court, a lawyer must, among other qualifications, “read and remain

familiar with [the Local] rules, administrative orders, the Federal Rules of Bankruptcy Procedure, the
Federal Rules of Civil Procedure, the Federal Rules of Evidence, The Florida Bar’s Rules of
Professional Conduct, and the Bankruptcy Code.” Local Rule 2091-1(A)(2).
51 Estelle v. Gamble, 429 U.S. 97, 106 (1976). Motions filed by lawyers should be clear, concise, and

free of typographical errors. They should be formatted and filed in accordance with the Local Rules of
this Court. The Motion to Reinstate Stay satisfied none of these expectations. There is no excuse – not
even for a claimed “emergency” – for an attorney to file a motion like this one.
52 Indeed, even lawyers representing themselves are not held to this lower standard. See Olivares v.

Martin, 555 F.2d 1192, 1194 n.1 (5th Cir. 1977) (“[W]e cannot afford [the appellant] the advantage of
the liberal construction of his complaint normally given pro se litigants, because he is a licensed
attorney.”). See also Scott v. Frankel, 606 F. App’x 529, 531 (11th Cir. 2015).
53 Regardless, the motion for recusal lacked any merit. It, too, failed to comply with Federal Rule of

Bankruptcy Procedure 9013, by failing to “state with particularity the grounds” for recusal. Fed. R.
Bankr. P. 9013. Dissatisfaction with a Court’s rulings may be grounds for an appeal, but not for
recusal. Loranger v. Stierheim, 10 F.3d 776, 780 (11th Cir.1994) (citing Berger v. U.S., 255 U.S. 22, 31,
(1921)); McWhorter v. City of Birmingham, 906 F.2d 674, 678 (11th Cir. 1990). Likewise, “judicial
remarks during the course of a trial that are critical or disapproving of, or even hostile to, counsel, the
parties, or their cases, ordinarily do not support a bias or partiality challenge.” Liteky v. U.S., 510 U.S.
540, 555 (1994).
54 ECF No. 157.



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Mr. Neusom at least offered some acknowledgment that the Motion to Reinstate Stay

may have been improper. 55 Beyond that, though, he offered no plausible reason why

the Court should not sanction him for the filing of – and the content of – the Motion

to Reinstate Stay.

       As for the Debtor, herself, because she had engaged Mr. Neusom to file and

prosecute the Motion to Reinstate Stay, and because she did not file it herself pro se,

the Court will not sanction her individually here. With respect to Mr. Neusom,

however, his conduct fell well short of his professional obligations as a licensed

attorney and officer of the Court. He therefore will be sanctioned.

       Accordingly, it is ORDERED that:

       1.      Attorney Thomas Neusom is SANCTIONED under Federal Rule of

Bankruptcy Procedure 9011(c)(1)(B) for violating Federal Rule of Bankruptcy

Procedure 9011(b)(2).

       2.      By not later than July 31, 2023, Mr. Neusom must complete 6 hours of

in person Continuing Legal Education courses, in the manner set forth in paragraph

3 below, and must file a certification of compliance with the Court within 7 days

thereafter.




55 Nevertheless, the Supplement still raised other meritless and unsupported arguments – again

without citation to any applicable authority – that Rule 9011 sanctions are unconstitutional and
violate the Debtor’s civil rights, and that the “way the sanction was imposed gave the Debtor, no
advance notice that the Court would even consider sanctions. Some sort of safe harbor should be given
to Debtor and the monetary sanction should not be granted.” Id. at 3. Again, that was why the Court
did not issue any sanctions at the March 8, 2023 hearing and instead issued the Order to Show Cause
setting the April 5, 2023 Show Cause Hearing and giving Mr. Neusom and the Debtor an opportunity
to respond.

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          3.    Mr. Neusom may satisfy the requirement of paragraph 2 either by

(a) attending the University of Miami School of Law’s Bankruptcy Skills Workshop

on June 9, 2023, in its entirety in person, from 8:00 a.m. to 4:00 p.m., or (b) taking

6 hours of any other in-person Continuing Legal Education courses of his choosing,

consisting of at least 2 hours in professionalism, 2 hours in consumer bankruptcy law,

and 2 hours in legal writing.

          4.    Shoma Homes’ request for attorneys’ fees is DENIED.

          5.    The Motion for Recusal 56 is DENIED.

          6.    No sanctions are awarded against the Debtor personally.

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Copies furnished to all interested parties by the Clerk of Court




56   ECF No. 155.

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